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_V_ 00-20140-01-|1113/ ich c?§'-
04-20276-01-Nla

 

BABA ASSA KAND|OURA

Nlichae| J. Stenge|, CJA
Defense Attorney

50 North Front Street, Suite 850
Nlemphis,Tennessee 38103

Doris Ftand|e-Ho|t FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Nlemphis,Tennessee 38103

 

 

JUDG|V|ENT lN A CFlllVllNAL CASE

(For Offenses Committed On or After November 1, 1987)

The defendant Was found guilty on Counts 1 through 6 of |ndictment # 00-20140 on November 18, 2004,
and the defendant entered a guilty plea to Count 1 of |ndictment # 04-20276 on January 4, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tit|e & Section Nature of Offense Concluded Number|s}
17 U.S.C. § 506(a) Crimina| infringement on copyrights 12/30/1999 1 - 5 (00-20140}
18 U.S.C. § 2319(b)(1)
17 U.S.C. § 506(a) Crimina| infringement on copyrights 12/30/1999 6 (00-20140)
18 U.S.C. § 2319(b)(3) (misdemeanor)
18 U.S.C. § 3146(a)(1) Failure to appear 08/03/2001 1 (04-20276)

The defendant is sentenced as provided in the following pages of this judgment The sentence is
imposed pursuant to the Sentencing Reform Actof1984 and the Nlandatory Victims Ftestitution Act
of 1996.

lT lS FURTHEFt ORDERED that the defendant shall notify the United States Attcrney for this
district Within 30 days of any change ot name, residence, or mailing address untit all fines,
restitution, costs and special assessments imposed by this judgment are fully paid

Defendant’s Soc. Sec. Nc. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 05/05/1969 l\/lay 12, 2005
Deft’s U.S. Nlarshal No.: 17456-076

__AAUM_\

SAMUEL H. MAYS, JFl.
UN|TED STATES DlSTFthT JUDGE

15

This document entered on the docket sheet in compliancl‘dlay ,2005 fi/§f

with Hule 55 and/or32( (b) FFtCrP ons§ ii (25

 

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Case No: 00-20140-01-l\/|a
04-20276-01-Ma
Defendant Name: Baba Assa Kandioura Page 2 of 5

l|VlPRlSONlVlENT

As to Case Number 00-20140, the defendant is hereby committed to the custody of
the United States Bureau of Prisons to be imprisoned for a term of thirteen (13) months
on Counts 1 through 5 and twelve (12) months on Count 6, to run concurrent

As to Case Number 04-20276, the defendant is hereby committed to the custody of
the United States Bureau of Prisons to be imprisoned for a term of two (2) months on
Count 1 (one (1) month under §3146 and one (1) month under §3147), Which shall run
consecutive to the sentence imposed in Case Number 00-20140.

Tota| term of imprisonment is fifteen (15) months.

The defendant is remanded to the custody of the United States l\/larshal.

RETURN

| have executed this judgment as follows'.

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES l\/lAFiSl-lAL
By:

 

Deputy U.S. Nlarsha|

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Case No: 00-20140-01-|\/|a
04-20276-01~Nla
Defendant Name: Baba Assa Kandioura Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years on Counts 1 through 5 and one (1) year on Count 6 of Case
Number 00-20140, and two (2) years on Count 1 of Case Number 04-20276, ali to run
concurrent|y, for a total term ot supervised release of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer_

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district Without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report Within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shaft refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

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04-20276-01-|\/13

Defendant Name: Baba Assa Kandioura Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shali permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11, The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such nctificaticns and to confirm the defendants compliance With such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of F’ayrnents set
forth in the Criminal l\/lonetary Penalties sheet of this judgmentl

ADDlT|ONAL COND|T|ONS OF SUPERV|SED RELEASE
The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 00-20140-01-|\/|a
O4-20276-01-lv|a
Defendant Name.' Baba Assa Kandioura Page 5 of 5

CRllVllNAL lVlONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitution
$625.00

The Special Assessment shall be due immediatelyl

FlNE
No fine imposed

REST|TUT|ON
No Fiestitution was ordered

 

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 219 in
case 2:00-CR-20140 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

Memphis7 TN 38103--111

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

